     Case 3:16-cv-00715-RCJ-CLB Document 101 Filed 10/21/20 Page 1 of 2



      LISA WILTSHIRE ALSTEAD, ESQ. (NSBN 10470)
 1    McDONALD CARANO LLP
      100 West Liberty Street, 10th Floor
 2    Reno, Nevada 89501
      Telephone: 775.788.2000
 3    Facsimile: 775.788.2020
      lalstead@mcdonaldcarano.com
 4
     Attorneys for Plaintiff
 5   MelRok, LLC
 6                                  UNITED STATES DISTRICT COURT
 7                                         DISTRICT OF NEVADA
 8                                                   *** *
 9     MELROK, LLC, a Delaware limited liability          Case No.: 3:16-CV-00715-RCJ-CBC
       company,
10
                       Plaintiff,
11
       v.                                                 ORDER FOR DISMISSAL WITH
12                                                        PREJUDICE
       LVR MECHANICAL, INC., a New York
13     corporation, d.b.a. LVR ENERGY &
       MECHANICAL; DOES I-V; and ROES
14     VI-X,
15                     Defendants.
                                                      /
16

17           Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), by and through their
18    undersigned counsel of record, Plaintiff MelRok, LLC and Defendant LVR Mechanical, Inc.
19    hereby jointly stipulate to dismiss this action in its entirety with prejudice, with each party to bear
20    its own attorney’s fees and costs.
21    ///
22    ///
23    ///
24    ///
25    ///
26    ///
27    ///
28
     Case 3:16-cv-00715-RCJ-CLB Document 101
                                         100 Filed 10/21/20
                                                   10/14/20 Page 2 of 2




 1    DATED: October 14, 2020.

 2
      MCDONALD CARANO LLP                      THORNDAL ARMSTRONG DELK
 3                                             BALKENBUSH & EISNGER
 4    /s/ Lisa Wiltshire Alstead               /s/ Michael C. Winn
      Lisa Wiltshire Alstead                   Michael C. Winn
 5    100 W. Liberty St., 10th Fl.             6590 S. McCarran Blvd., Suite B
      PO Box 2670                              Reno, Nevada 89509
 6    Reno, Nevada 89505                       Attorneys for LVR Mechanical, Inc.
      Telephone: (775) 788-2000
 7    Facsimile: (775) 788-2020
      Attorneys for MelRok, LLC
 8

 9

10
                                         IT IS SO ORDERED.
11

12
                                                                                    ____
13                                       UNITED STATES DISTRICT JUDGE
14
                                         DATED: October 21, 2020.
15

16

17

18

19
20

21

22

23

24

25

26

27

28
                                           2
